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       EXHIBIT C
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                   9 Harmony Gold, USA, Inc.

               10

               11                           UNITED STATES DISTRICT COURT
               12                          CENTRAL DISTRICT OF CALIFORNIA
               13

               14                                              CASE NO. 2:17-cv-06034
                       HARMONY GOLD, USA, INC.,
               15
                                                               PETITION TO CONFIRM
               16            Petitioner,                       ARBITRATION AWARD AND FOR
                                                               ENTRY OF JUDGMENT
               17
                             v.
               18
                       TATSUNOKO PRODUCTION CO.,
               19
                       LTD.,
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                             Respondent.
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                                                                   PETITION TO CONFIRM ARBITRATION AWARD
ATTORNEYS AT LAW
  LOS ANGELES                                                1                  AND FOR ENTRY OF JUDGMENT
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                   1          Petitioner Harmony Gold, USA, Inc. (“Harmony Gold”), by and through its
                   2   undersigned counsel, Latham & Watkins LLP, brings this petition to confirm an
                   3   arbitration award, dated June 28, 2017, in connection with arbitration proceedings
                   4   between Harmony Gold and Respondent Tatsunoko Production Co., Ltd.
                   5   (“Tatsunoko”) under 9 U.S.C. §§ 1-16, and alleges as follows:
                   6                                     THE PARTIES
                   7          1.    Harmony Gold is a corporation organized and existing under the laws
                   8   of the State of California with its principal place of business in Los Angeles,
                   9   California. Harmony Gold is a citizen of the State of California.
               10             2.    Upon information and belief, Tatsunoko is a limited company
               11      organized and existing under the laws of Japan with its principal place of business
               12      in Tokyo, Japan. Tatsunoko is a citizen of the foreign nation of Japan.
               13                               JURISDICTION AND VENUE
               14             3.    Jurisdiction is proper in the United States District Court under 28
               15      U.S.C. §1332(a)(2) because there is complete diversity of citizenship between the
               16      parties and the amount in controversy exceeds $75,000 exclusive of costs and
               17      interest.
               18             4.    Jurisdiction is also proper in the United States District Court pursuant
               19      to 9 U.S.C. § 9.
               20             5.    Venue is proper in the United States District Court for the Central
               21      District of California pursuant to 9 U.S.C. § 9 and 28 U.S.C. §1391(b)(2) because
               22      this is the judicial district in which the arbitration award sought to be confirmed
               23      was made.
               24                                 FACTUAL ALLEGATIONS
               25             6.    The parties entered into a license agreement dated March 15, 1991
               26      (“License Agreement”), which governs the parties’ contractual relationship. The
               27      parties subsequently entered into a number of amendments to the License
              28
                                                                       PETITION TO CONFIRM ARBITRATION AWARD
ATTORNEYS AT LAW
  LOS ANGELES                                                     2                 AND FOR ENTRY OF JUDGMENT
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                   1   Agreement. One of the amendments, dated August 6, 1998 (“1998 Amendment”),
                   2   contains an agreement to arbitrate any dispute between the parties.
                   3         7.    The arbitration provision in the 1998 Amendment states as follows:
                   4               This Amendment and the main Agreement will be governed by
                   5               the laws of the State of California of the United States of
                                   America and all disputes shall be resolved by binding
                   6               arbitration in Los Angeles, California pursuant to the rules of
                   7               the American Film Marketing Association.1
                   8         8.    A dispute arose between the parties regarding the parties’ rights under
                   9   the License Agreement and its subsequent amendments.
               10            9.    Harmony Gold subsequently submitted an arbitration demand with
               11      IFTA on November 23, 2016 (IFTA Case No. # 16-75) and Tatsunoko submitted a
               12      cross-complaint in that proceeding on December 29, 2016. On February 2, 2017,
               13      Jack E. Freedman, Esq. (“Mr. Freedman”) was designated as the IFTA arbitrator in
               14      the referenced proceedings.
               15            10.   Both parties submitted Opening Briefs and Responding Briefs, along
               16      with voluminous exhibits, to Mr. Freedman, on May 2 and 9, 2017.
               17            11.   The arbitration hearing took place before Mr. Freedman on May 16,
               18      17, 18, and 19, 2017, in Los Angeles, California. Mr. Freedman permitted the
               19      parties to present extensive evidence and argument.
               20            12.   After the close of arbitration, each party submitted a Post-Hearing
               21      Brief and a Request for Attorneys’ Fees and Costs on June 5, 2017.
               22            13.   Based upon the arbitration briefs, evidence presented at arbitration,
               23      exhibits, the relevant case law and the arguments of counsel, Mr. Freedman issued
               24      a detailed 21-page arbitration award on June 28, 2017 (the “Arbitration Award”).
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                        The American Film Marketing Association has since become the Independent
                       Film & Television Alliance (“IFTA”).
              28
                                                                     PETITION TO CONFIRM ARBITRATION AWARD
ATTORNEYS AT LAW
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                   1         14.    A true and correct copy of the Arbitration Award is attached hereto as
                   2   Exhibit 1.2 Harmony Gold has concurrently filed an Application to File Under
                   3   Seal Certain Portions of Arbitration Award, which is unopposed by Tatsunoko.3
                   4         15.    This petition is timely because it was filed within one year after the
                   5   award was made.
                   6                                 CLAIM FOR RELIEF
                   7         16.    Harmony Gold repeats and realleges the allegations in Paragraphs 1
                   8   through 14 above as though fully set forth herein.
                   9         17.    Pursuant to 9 U.S.C. §§ 9 and 13, the parties are entitled to a judgment
               10      entered by this Court to confirm the Arbitration Award.
               11            18.    The Arbitration Award is final and binding on the parties pursuant to
               12      the 1998 Amendment.
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               25       Exhibit 1 will be filed pending resolution of our concurrently filed Application to
                       File Under Seal.
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                  The parties anticipate that they will file a stipulation to confirm the Arbitration
              27 Award and a proposed judgment after resolution of the Application to File Under
                 Seal.
              28
                                                                      PETITION TO CONFIRM ARBITRATION AWARD
ATTORNEYS AT LAW
  LOS ANGELES                                                     4                AND FOR ENTRY OF JUDGMENT
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                   1                             PRAYER FOR RELIEF
                   2        WHEREFORE, Harmony Gold prays for the following relief:
                   3           a) That the Court enter an Order confirming the Arbitration Award; and
                   4           b) That the Court enter judgment on the award in the form of the
                   5              proposed judgment.
                   6

                   7   Dated: August 14, 2017                 Respectfully submitted,
                   8                                          LATHAM & WATKINS LLP
                                                              Daniel Scott Schecter
                   9                                          Jessica Stebbins Bina
                                                              Elizabeth A. Greenman
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               11
                                                              By /s/ Jessica Stebbins Bina
               12                                                Jessica Stebbins Bina
                                                              Attorneys for Petitioner
               13                                             Harmony Gold, USA, Inc.
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                                                                  PETITION TO CONFIRM ARBITRATION AWARD
ATTORNEYS AT LAW
  LOS ANGELES                                                 5                AND FOR ENTRY OF JUDGMENT
